                                                                              Exhibit K
                 Exhibit K



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                                               June 30, 2021

VIA EMAIL AND U.S. MAIL

Matthew D. Elster
Beermann LLP
161 N. Clark St., Ste. 3000
Chicago, IL 60601
melster@beermannlaw.com

                Re: Demand for Withdrawal of Motion for Entry of Turnover Order

Dear Mr. Elster:

        This firm represents Window Rock Investment Operations, LLC; Dibs US, Inc.; Cadi US,
LLC; WRCOF Asset Trust 2017-1; and Credit Opportunity Holdings, LLC (collectively, the “WR
Entities”), each of whom maintains a bank account (the “Window Rock Accounts”) at Western
Alliance Bank (“Alliance”).

        On May 26, 2021, your client Joseph Ware, as Independent Executor of the Estate of
Evoughn Ware (“Ware”), filed a Motion for Entry of Turnover Order (the “Motion”) in Cook
County Circuit Court, No. 2017 L 6009. In that Motion, Ware seeks a court order directing
Alliance to turn over funds belonging to the WR Entities that are maintained in any bank
accounts at Alliance that belong to the WR Entities. As a result of that Motion, and as a matter
of bank policy, Alliance has frozen all of the Window Rock Accounts, causing tremendous
hardship and continuing and significant damages to the WR Entities.

         As you know, all proceedings on the Motion have been stayed due to the bankruptcy
filing of Home Opportunity, LLC (“HO”). Nonetheless, and for the following reasons, we hereby
demand that you immediately withdraw the Motion and direct Alliance to immediately
unfreeze the Window Rock Accounts.

       In the Motion, you contend that the Window Rock Accounts were pledged by HO in June
of 2017 as collateral for a loan from Alliance. That contention is completely untrue. No
Window Rock Accounts or other assets belonging to the WR Entities were ever “pledged for” or
in any way, shape or form transferred to HO. Those accounts and the funds in them belong and
have always belonged to the WR Entities.

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         When you signed the Motion, you certified that you had read it, that to the best of your
knowledge, information, and belief, formed after reasonable inquiry, it was well grounded in
fact and warranted by existing law or a good-faith argument for the extension, modification, or
reversal of existing law, and that it was not interposed for any improper purpose, such as to
harass or to cause unnecessary delay or needless increase in the cost of litigation. See Ill. Sup.
Ct. Rule 137. See also Rule 11, Ariz. R. Civ. P.1 If a pleading (such as the Motion) is signed and
filed in violation of that rule, sanctions may be imposed against a party and his counsel. For the
following reasons, we submit that there was no good faith basis to argue that the WR Entities
somehow have an obligation to satisfy the judgment against HO, or that their assets or bank
accounts can somehow be attached in connection with a judgment against a completely
separate entity (HO). If necessary, we will ask Illinois counsel to intervene and seek the
dismissal of the Motion and sanctions against your client and your firm – or we will take up that
issue with the bankruptcy court in Arizona.

       In the Motion, you claim that Alliance’s response to a request for information disclosed
that the WR Entities were “pledged accounts.” You attached copies of the loan documents
produced by Alliance – none of which support that claim. Not one of those documents –
neither the Promissory Note nor the Loan and Security Agreement - even mentions any of the
WR Entities – nor should they, as the WR Entities were not a party to that transaction, did not
provide security for that transaction, and did not pledge or transfer any assets to or on behalf
of HO in that transaction.

        The only documents which Alliance produced in response to your broad request for
information that in any way reference the WR Entities were copies of bank account statements
for the WR Entities, which make no mention of HO or Red Rock River, LLC (“RRR”). We do not
know why Alliance provided you with copies of those bank account statements. We believe
that was a mistake. Regardless, we are certain, despite what you suggest in your Motion, that
Alliance did not state that those bank accounts somehow belonged to HO and that Alliance did
not state that those accounts were pledged as collateral for a HO loan. There is no possible
way that Alliance could have made that statement.

            A. The WR Entities are Separate and Distinct Entities from HO or RRR.

        HO is a Delaware limited liability company. None of the WR Entities are members or
managers or have any ownership interest whatsoever in HO. Similarly, HO is not a member or
manager and does not have any ownership interest in any of the WR Entities. HO and the WR
Entities are completely separate legal entities.




1
 The WR Entities reserve all rights with respect to the venue and jurisdiction in which they may seek
relief against Ware and his counsel.

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       RRR is a Delaware limited liability company. None of the WR Entities are members or
managers or have any ownership interest whatsoever in RRR. Similarly, RRR is not a member
or manager and does not have any ownership interest in any of the WR Entities. RRR and the
WR Entities are completely separate legal entities.

            B. Alliance’s Banking Relationship with HO and RRR Does Not Make the WR Entities
               Responsible for HO’s or RRR’s Obligations.

                  1. The Window Rock Accounts
            The WR Entities each maintain a separate bank account at Alliance:

                                              Account         Owner
                      Account Name
                                              Number
                WRIO Operating              8011772657        Window Rock Investment Operations, LLC
                DIBS Operating              8011773135        Dibs US, LLC
                Cadi US                     8255051688        Cadi US, LLC
                WRCOF 2017-1                8869618183        WRCOF Asset Trust 2017-1
                Credit Opportunity Holdings 8947213155        Credit Opportunity Holdings, LLC

        Each of those accounts is solely owned by each respective WR Entity. None of the
Window Rock Accounts are jointly held by HO or RRR. Neither HO nor RRR signed any account
ownership documents. Neither HO nor RRR is listed as an authorized party on any of the
signature cards for those accounts. The WR Entities did not provide Alliance with any
documents granting HO or RRR an interest in, or control over, the Window Rock Accounts. In
short, neither HO nor RRR owns or otherwise has any interest in the Window Rock Accounts.

                  2. The Loan Agreement with HO and RRR
        On June 22, 2017, Alliance agreed to lend HO and its sole member, RRR, $8.0 million
(the “Loan”). The Loan is evidenced by, among other things, a Promissory Note (the “Note”)
and a Loan and Security Agreement (the “Loan Agreement”), wherein HO and RRR are
collectively referred to as “Borrower.” None of the relevant Loan documents suggest that HO
owns an interest in the Window Rock Accounts, or that HO or RRR pledged the Window Rock
Accounts as security for the Loan. They didn’t. None of the WR Entities were a party to that
Loan, to the Note, or to the Loan Agreement.

            To the contrary: among the relevant provisions:

                  •   The Promissory Note defines Collateral as “certain personal property of
                      Borrower,” which includes “a security interest in, all monies, securities and other
                      property of Borrower now or hereafter in the possession of or on deposit with
                      Alliance…including, without limitation, any account or deposit held jointly by

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                    Borrower with any other person or entity…” The Promissory Note does not
                    define Collateral to include accounts held by any of the WR Entities.

                •   The Loan Agreement defines “Collateral” as “the Pledge Note Files, the REO Files,
                    the funds in the Collection Account and all products and proceeds whether
                    tangible or intangible, of any of the foregoing, and any and all accounts, money,
                    deposit accounts, judgments, attachments, claims for relief, levies, causes of
                    action or other tangible or intangible property, resulting from the sale,
                    foreclosure, exchange, collection, or other disposition of any of the foregoing, or
                    any portion thereof or interest therein, and the proceeds thereof.” Loan
                    Agreement at 3. Again - the Loan Agreement does not include deposit accounts
                    held by the WR Entities. It only includes accounts, money or deposit accounts
                    owned and held by the Borrower.

                •   The Loan Agreement grants Alliance a security interest in “all Collateral without
                    further act on the part of Alliance or Borrower.” Loan Agreement at Section
                    4.1. The Loan Agreement does not grant Alliance any security interest in the
                    Window Rock Accounts.

                •   The Loan Agreement grants Alliance a right to “set off and apply against the
                    Obligations…any and all deposits…or other sums at any time credited by or
                    owing from Alliance to any Borrower…” Loan Agreement at Section 4.10. Again,
                    the Loan Agreement does not grant Alliance a right to set off any obligations
                    owed under the Note or Loan Agreement against deposits held by anyone
                    other than the Borrowers – much less the WR Entities. The WR Entities were
                    not a party to the Loan and did not guarantee or otherwise secure the Loan.

                •   Section 9.1 of the Loan Agreement describes Alliance’s rights & remedies
                    regarding Borrower’s deposit accounts held at Alliance. Alliance’s rights &
                    remedies apply only to accounts of Borrower and do not include any accounts
                    of the WR Entities.

         In short, neither the Note nor the Loan Agreement (i) grant Alliance any security interest
in the Window Rock Accounts, (ii) provide that the Window Rock Accounts are assets of HO, or
(iii) constitute a pledge of the Window Rock Accounts as collateral to secure the Loan. Nor
could they, as the WR Entities were never and are not parties to the Note or the Loan
Agreement. For Ware to state or suggest otherwise to the Court is sanctionable.

        Indeed, the only place that the WR Entities or their Accounts are (arguably) mentioned
in the Loan documents is in Section 6.4 of the Loan Agreement, which provides that HO, RRR,
“and its affiliates” shall maintain combined aggregate deposit account balances of not less than
$1,000,000.00. See Section 6.4 of the Loan Agreement.


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         We presume that Alliance provided you with copies of statements regarding the bank
accounts maintained at Alliance by the WR Entities because those statements were in Alliance’s
Loan file. If so, that could only be because Alliance tracked those accounts to make certain that
HO, RRR “and their affiliates” collectively kept at least $1,000,000 on hand in the bank at all
times. But that liquidity obligation does not constitute a pledge of those accounts by the
“affiliates” as collateral. Nor does it make those accounts assets of HO or RRR. Nor does it
permit Alliance to seize the funds in those accounts in the event of a default by HO or RRR.
Indeed, if any (or all) of the WR Entities closed their accounts and removed their funds from
Alliance, and if the aggregate balance on hand for HO, RRR and their affiliates dipped under
$1,000,000 as a result, Alliance’s only remedy would be to increase the interest rate on the
Note by one half of one percent (0.5%) per annum.

      All of that is plainly set forth in the Loan documents attached to the Motion. No other
reasonable conclusion could have been reached from even a cursory review of the documents.

            C. The Judgment and the Motion

       Ware does not hold a judgment against any of the WR Entities (or, for that matter,
against RRR, HO’s co-borrower on the Note). The WR Entities were not a party to the lawsuit
and are not judgment debtors under the judgment. As set forth in the Motion, the only
judgment debtor is HO.

      Despite that fact, and through the Motion, Ware apparently intends to try to enforce his
judgment against assets owned by the WR Entities and held in Alliance. In doing so, he has
made a number of false assertions in the Motion.

        For example, Ware asserts, on page 1, paragraph 1, that “[i]n 2017, HO pledged 20 bank
accounts at WAB as collateral to secure an $8 million loan, executing documents evincing its
ownership of those accounts.” Mot. at 1. Ware than repeats that fiction two pages later, again
asserting that “HO pledged as collateral 20 bank accounts in which it had an interest with an
aggregate balance of over $10,0000 as of the fall of 2017.” Mot. at 3. In support of that
statement, Ware attaches account statements from each of the purported “pledged accounts.”
Mot. at 3, Exh. B. As stated above, however, nothing in the Note or Loan Agreement states
that those Accounts were ever pledged as security. They weren’t. Nothing in those account
statements suggests that HO even has an interest in those Accounts. It doesn’t.

        Ware then concludes, in summary fashion (at 5), that “the 20 Pledged Accounts and
their holdings are assets of the judgment debtor, HO.” That statement is blatantly false. HO
could not logically (and did not) pledge assets which it did not own as collateral for the
Loan. The fact is that the Window Rock Accounts were never pledged as collateral, whether by
HO or by anyone else, and the Window Rock Accounts were not HO’s accounts to pledge in any
event. The entire premise of the Motion is incorrect, yet the WR Entities have now gone more


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than one month without access to their money because Alliance had no choice but to freeze
the accounts upon receipt of the Motion.

            D. Demand

      It is axiomatic that a judgment creditor can only proceed against assets owned by the
judgment debtor. Ware, in this case, has no right to seize, attach, or interfere with bank
accounts or monies held by third parties, whether they are affiliates of HO or not.

       The WR Entities are separate legal entities from HO. Each maintains its own separate
bank account at Alliance. There is simply no legal basis or rationale for Ware to allege that
those accounts can somehow be attached to satisfy the judgment against HO. There is simply
no legal basis for Ware to seek to compel Alliance to freeze the Window Rock Accounts or to
turn over assets belonging to the WR Entities in order to satisfy a debt owed by HO.

        Every day that the Window Rock Accounts remain frozen – every day that the WR
Entities are denied access to those bank accounts and to the funds in those accounts - causes
significant and continuing harm to the WR Entities. Without access to the Window Rock
Accounts, they cannot conduct business, or satisfy their obligations to their own debtors or
shareholders. For that, we hold Ware responsible.

       For the reasons stated herein, we demand that Ware immediately withdraw the
Motion, and that Ware direct Alliance to immediately release any hold that exists on the
Window Rock Accounts, so that the WR Entities may have prompt and unfettered access to
those Accounts and to their funds.2 Failure to do so will result in litigation against Ware and
the seeking of sanctions, as described above.

            We look forward to your prompt response.

                                              Sincerely,



                                              John C. Kelly
                                              Marvin Ruth

JCK:slm
Cc: WR Entities


2
 The WR Entities reserve all rights with respect to the damages they have suffered, and continue to
suffer, while Alliance withholds their monies from them based upon the Motion filed by Ware and the
actions taken by Ware in connection with the Motion.

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